 Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 1 of 10. PageID #: 587347




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                                    MDL 2804
OPIATE LITIGATION
                                                                Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:
                                                                Judge Dan Aaron Polster
Applies to All Cases


     MOTION TO APPOINT THE FEE PANEL TO ALLOCATE AND DISBURSE
    ATTORNEY’S FEES PROVIDED FOR IN STATE BACK-STOP AGREEMENTS

        The undersigned counsel, acting on behalf of itself and the interests of dozens of other

counsel who represent subdivisions in States with “State Back-Stop Agreements,” 1 move this

Court to authorize the Fee Panel (see Doc. 3828) to allocate and disburse payments for attorney’s

fees from State Back-Stop funds to eligible counsel in States where an established procedure for

allocating such fees does not already exist. As explained below, the Fee Panel would pursue this

role only in States where that State’s Attorney General and 100% of Contact Counsel for

Participating Subdivisions in that State agree.

        Through Allocation Statutes2 and Allocation Agreements, State Back-Stop Agreements

have been reached in approximately 31 Settling States. However, in some of these States, the




        1
          See Exhibit R to the Distributor Settlement Agreement and the Janssen Settlement Agreement at
Definition R, which defines a “State Back-Stop Agreement” as “[a]ny agreement by a Settling State and
private counsel for Participating Subdivisions in that State (or legislation enacted in that State) to provide,
adjust, or guarantee attorneys’ fees and costs, whether from the Attorney Fee Fund or any other source
recognized in the agreement or legislation.”
        2
          Any capitalized terms used but not otherwise defined herein shall have the meaning ascribed to
them in the Settlement Agreements, including those terms defined in Exhibit R: “Agreement on Attorneys’
Fees, Costs, and Expenses” of the Settlement Agreements (“Exhibit R”). For the avoidance of doubt, the
term “Settlement Agreements” shall refer to the Settlement Agreements between and among the Settling
States, Settling Distributors, and Participating Subdivisions and the Settling States, Janssen, and


                                                      1
 Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 2 of 10. PageID #: 587348




process for distributing the Back-Stop funds was not defined in the State Back-Stop Agreement. 3

Thus, additional procedures are necessary in those States to facilitate the equitable distribution of

funds to eligible counsel. This Court, pursuant to its broad authority to oversee the Settlement

Agreements, has the power to expand the scope of the Fee Panel’s responsibilities to include

allocation and distribution of attorney fees set aside in State Back-Stop Agreements, consistent

with the parameters set forth in the concurrently filed proposed order. Specifically, to facilitate

the Fee Panel’s allocation and disbursement of those funds to attorneys, the moving parties propose

a process for allocation and distribution using a mathematical model based on eligible counsel’s

contingency fee contracts, the negotiation class metrics, population, or any other factors that are

to be considered under the terms of agreements reached among counsel in each State. 4

                                            ARGUMENT

        The Sixth Circuit “has long recognized the broad, inherent authority and equitable power

of a district court to enforce an agreement in settlement of litigation pending before it.” Therma-

Scan, Inc. v. Thermoscan, Inc., 217 F.3d 414, 419 (6th Cir. 2000) (quoting Bostick Foundry Co. v.

Lindberg, 797 F.2d 280, 282-83 (6th Cir. 1986)). “Indeed, prior to entry of judgment or dismissal,

district courts retain subject matter jurisdiction over the cases pending before them and retain the

inherent power to enforce agreements entered into in settlement of litigation pending before them.”

Heimberger v. Pritzker, No. 2:12-CV-01064, 2015 WL 5582254 at *3 (S.D. OH. Sept. 23, 2015)

(internal quotation marks omitted); see also Jaynes v. Austin, 20 Fed. Appx. 421, 424 (6th Cir.



Participating Subdivisions (as those terms are defined therein), respectively, inclusive of all exhibits
(including Exhibit R) thereof.
        3
         Those States include, but are not limited to, Georgia, Kentucky, Louisiana, Michigan, Missouri,
Mississippi, and New Mexico.
        4
          Agreements can be found on the settlement website under the heading “Additional Documents
for Certain States.” See https://nationalopioidsettlement.com/.


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 Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 3 of 10. PageID #: 587349




2001); Brock v. Schemer Corp., 841 F.2d 151, 154 (6th Cir. 1988); Byrd v. Time Warner Cable

Inc., 507 Fed. Appx. 565, 566 (6th Cir. 2012).

       In carrying out its authority to enforce a settlement agreement, such as the Settlement

Agreements at issue here, the district court is expressly authorized to establish procedures to

facilitate the efficient and fair resolution of fee claims. See, e.g., Fed. R. Civ. P. 54(2)(D)

(including by referring issues to a Special Master for resolution). Special Masters and fee panels

are routinely used to oversee administration of settlement funds, including as to attorney fees,

particularly where such administration is complex. See, e.g., Lessard v. City of Allen Park, 422 F.

Supp. 2d 787, 788 (E.D. Mich. 2006); In re E.I. DuPont De Nemours & Co. C-8 Personal Injury

Litig., 2019 WL 2088768 at *3 (May 13, 2019).

       Indeed, pursuant to this Court’s enforcement authority over the Settlement Agreements and

its equitable powers, this Court has already appointed a Fee Panel to administer allocation and

distribution of fees under from the Common Benefit Fund and the Contingency Fee Fund. (See

Doc. 3828.) Accordingly, in the interests of efficiency, the undersigned counsel now moves the

Court, subject to the approval of all Contact Counsel in each State as well as the State Attorney

General, to authorize the Fee Panel to also oversee and direct the allocation and administration of

settlement funds set aside under State Back-Stop Agreements. These approvals will make

application of the Court’s order in any particular State conditional upon the agreement of the

parties, which shall be facilitated through execution of an “Acknowledgement and Agreement to

be Bound” by: (1) a representative of the Attorney General’s Office, and (2) 100% of Contact

Counsel for Participating Subdivisions in that State.

       The Settlement Agreements expressly contemplate the use of the State Back-Stop

Agreements at issue here. See supra n.1. This Court’s broad authority to enforce the Settlement




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 Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 4 of 10. PageID #: 587350




Agreements (including through use of the Fee Panel), therefore, should also encompass

administration of the State Back-Stop Agreements, which were expressly anticipated by the

Settlement Agreements to ensure that attorneys are fairly compensated.

       Oversight of the State Back-Stop Agreements by the Fee Panel is necessary and appropriate

in certain States because those Agreements, which provide for the payment of attorney fees from

a portion of the settlement funds received by certain Settling States, do not endow a specific entity

with authority to allocate and disburse payments to eligible counsel. In some States, such as

Arkansas, Florida, Pennsylvania, Texas, and South Carolina, among others, which are NOT the

subject of this motion, a mechanism already exists to implement procedures for allocating and

distributing these Back-Stop funds. However, in other States, these mechanisms do not exist;

absent an order from this Court, disputes may arise which could tie the funds up in litigation for

years to come.

       Moreover, efficiency also dictates that the Fee Panel’s authority be expanded to include

administration of the State Back-Stop funds. Many State Back-Stop Agreements require that

counsel first seek recovery from the Contingency Fee Fund and, with respect to the amounts that

may be awarded from the State Back-Stop funds, some agreements limit recovery based on what

has already been awarded from the Contingency Fee Fund. Given its responsibility for overseeing

the Contingency Fee Fund, the Fee Panel is uniquely situated to perform the calculations for

awarding fees from State Back-Stop funds. Additionally, centralizing the State Back-Stop fund

allocation process with the Fee Panel, along with its other fee-allocation-related duties, will result

in additional efficiencies that will reduce the overall costs of administration, resulting in more

funds to be distributed to eligible counsel.




                                                  4
 Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 5 of 10. PageID #: 587351




       With the interests of efficiency in mind, and subject to the agreement of all Contact Counsel

and the Attorney General in a State, the moving parties also request that the Court limit the State

Back-Stop funds to fees, foregoing a process concerning cost awards. The undersigned counsel

acknowledge that some State Back-Stop Agreements contain provisions regarding the recovery of

costs, but the interests of all eligible counsel are best served if State Back-Stop funds are used

solely for fee awards. Given the relatively small amount of funds available in each state, and the

large number of eligible counsel, it would be impractical and unjustly costly to institute a process

concerning cost awards. The time and expense that would be incurred by the Fee Panel in

connection with the processing and review of hundreds of small dollar reimbursement requests in

each has the potential to be equal to or near the value of the State Back-Stop funds themselves,

leaving little left to be allocated to counsel. In contrast, amounts not allocated to costs from State

Back-Stop funds will increase the overall amount of funds available for fee awards, which will

benefit all eligible counsel. Moreover, these cases have been pending for many years and eligible

counsel benefit from a process that does not inject further delay, which would occur if the Fee

Panel had to review thousands of pages of documentation concerning costs. Finally, eligible

counsel are not without recourse to recover certain costs incurred in connection with the litigation

because costs may be recovered from the $120 million Subdivision Cost Fund paid by the

Distributors and the $30 million Subdivision Cost Fund paid by Janssen.

       For these reasons, and to ensure orderly and fair distribution of funds made available under

State Back-Stop Agreements, and contemplated by the Settlement Agreements, the undersigned

counsel respectfully requests that the Court authorize the Fee Panel to administer State Back-Stop

funds consistent with the parameters set forth in the concurrently filed proposed order, on a State-

by-State basis, subject to 100% of Contact Counsel in a State executing the Acknowledgement and




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 Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 6 of 10. PageID #: 587352




Agreement to be Bound form provided with the concurrently filed proposed order. See, e.g.,

Therma-Scan, 217 F.3d at 419 (district court’s settlement enforcement authority “has its basis in

the policy favoring the settlement of disputes and the avoidance of costly and time-consuming

litigation”) (quoting Kukla v. National Distillers Prods. Co., 483 F.2d 619, 621 (6th Cir. 1973)).

Date: June 17, 2022                              Respectfully Submitted,

                                                     /s/ Mark P. Pifko
                                                     Mark P. Pifko


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                                                     County, Georgia; Bartow County, Georgia;
                                                     Polk County, Georgia; Union County,
                                                     Georgia; Fiscal Court of the County of
                                                     Anderson, Kentucky; Fiscal Court of the
                                                     County of Bell, Kentucky; Fiscal Court of the


                                                 6
Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 7 of 10. PageID #: 587353




                                         County of Boone, Kentucky; Fiscal Court of
                                         the County of Boyd, Kentucky; Fiscal Court
                                         of the County of Boyle, Kentucky; Fiscal
                                         Court of the County of Bracken, Kentucky;
                                         Fiscal Court of the County of Campbell,
                                         Kentucky; Fiscal Court of the City of
                                         Lexington, Kentucky; Fiscal Court of the
                                         County of Clark, Kentucky; Fiscal Court of
                                         the County of Clay, Kentucky; Fiscal Court of
                                         the County of Fleming, Kentucky; Fiscal
                                         Court of the County of Franklin, Kentucky;
                                         Fiscal Court of the County of Garrard,
                                         Kentucky; Fiscal Court of the County of
                                         Greenup, Kentucky; Fiscal Court of the
                                         County of Harlan, Kentucky; Fiscal Court of
                                         the County of Henry, Kentucky; Fiscal Court
                                         of the County of Jessamine, Kentucky; Fiscal
                                         Court of the County of Kenton, Kentucky;
                                         Fiscal Court of the County of Knox,
                                         Kentucky; Fiscal Court of the County of
                                         Laurel, Kentucky; Fiscal Court of the County
                                         of Leslie, Kentucky; Fiscal Court of the
                                         County of Letcher, Kentucky; Fiscal Court of
                                         the County of Lincoln, Kentucky; Fiscal
                                         Court of the County of Madison, Kentucky;
                                         Fiscal Court of the County of Montgomery,
                                         Kentucky; Fiscal Court of the County of
                                         Morgan, Kentucky; Fiscal Court of the
                                         County of Nicholas, Kentucky; Fiscal Court
                                         of the County of Pendleton, Kentucky; Fiscal
                                         Court of the County of Perry, Kentucky;
                                         Fiscal Court of the County of Powell,
                                         Kentucky; Fiscal Court of the County of
                                         Pulaski, Kentucky; Fiscal Court of the County
                                         of Rowan, Kentucky; Fiscal Court of the
                                         County of Scott, Kentucky; Fiscal Court of the
                                         County of Shelby, Kentucky; Fiscal Court of
                                         the County of Wayne, Kentucky; Fiscal Court
                                         of the County of Whitley, Kentucky, Fiscal
                                         Court of the County of Woodford, Kentucky,
                                         Fiscal Court of Adair County, Kentucky;
                                         Fiscal Court of Allen County, Kentucky;
                                         Fiscal Court of Bullitt County, Kentucky;
                                         Fiscal Court of Carlisle, Kentucky; Fiscal
                                         Court of Christian County, Kentucky;
                                         Louisville/Jefferson County Metro



                                     7
Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 8 of 10. PageID #: 587354




                                         Government; Fiscal Court of Cumberland
                                         County, Kentucky; Fiscal Court of Henderson
                                         County, Kentucky; Fiscal Court of Hopkins
                                         County, Kentucky; Fiscal Court of Marshall
                                         County, Kentucky; Fiscal Court of Oldham
                                         County, Kentucky; Fiscal Court of Union
                                         County, Kentucky; Parish of St. John the
                                         Baptist, Louisiana; City of Baton Rouge,
                                         Parish of East Baton Rouge, Louisiana; City
                                         of Saint Martinville, Louisiana; Phillip
                                         Terrell, Duly Elected District Attorney for
                                         Rapides Parish, Louisiana, Rapides Parish
                                         Police Jury, Louisiana; Charter Township of
                                         Canton, Michigan; City of Livonia, Michigan;
                                         Charter Township of Northville, Michigan;
                                         City of Romulus, Michigan; Charter
                                         Township of Van Buren, Michigan; City of
                                         Wayne, Michigan; Charter Township of
                                         Pittsfield, Michigan; Charter Township of
                                         Clinton, Michigan; Branch County,
                                         Michigan; Calhoun County, Michigan;
                                         County of Eaton, Michigan; Kalamazoo
                                         County, Michigan; Muskegon County,
                                         Michigan; Audrain County, Missouri;
                                         Chariton County, Missouri; Gasconade
                                         County, Missouri; Knox County, Missouri;
                                         Lewis County, Missouri; Maries County,
                                         Missouri; Montgomery County, Missouri;
                                         Pemiscot County, Missouri; Phelps County,
                                         Missouri; Randolph County, Missouri;
                                         Reynolds County, Missouri; Ripley County,
                                         Missouri; Schuyler County, Missouri; Scott
                                         County, Missouri; Shannon County, Missouri;
                                         Shelby County, Missouri &Warren County,
                                         Missouri; Boone County, Missouri; Callaway
                                         County, Missouri; Cole County, Missouri;
                                         Douglas County, Missouri; Miller County,
                                         Missouri; Moniteau County, Missouri; Osage
                                         County, Missouri; Ozark County, Missouri;
                                         Pulaski County, Missouri; Webster County,
                                         Missouri; Wright County, Missouri; Benton
                                         County, Mississippi; City of Amory,
                                         Mississippi; City of Charleston, Mississippi;
                                         City of Greenwood, Mississippi; City of Iuka,
                                         Mississippi; City of New Albany, Mississippi;
                                         Desoto County, Mississippi; Itawamba



                                     8
Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 9 of 10. PageID #: 587355




                                         County, Mississippi; Lafayette County,
                                         Mississippi, Leflore County, Mississippi;
                                         Marshall County, Mississippi; Monroe
                                         County, Mississippi; Prentiss County,
                                         Mississippi; Tallahatchie County,
                                         Mississippi; Tippah County, Mississippi;
                                         Union County, Mississippi; Amite County,
                                         Mississippi; City of Brookhaven, Mississippi;
                                         City of Columbia, Mississippi; City of
                                         Hattiesburg, Mississippi; City of Laurel,
                                         Mississippi; City of Meridian, Mississippi;
                                         City of Wiggins, Mississippi; Adams County,
                                         Mississippi; Forrest County, Mississippi;
                                         Franklin County, Mississippi; Holmes
                                         County, Mississippi; Jefferson County,
                                         Mississippi; Jefferson Davis County,
                                         Mississippi; Lawrence County, Mississippi;
                                         Lincoln County, Mississippi; Marion County,
                                         Mississippi; Neshoba County, Mississippi;
                                         Pearl River County, Mississippi; Perry
                                         County, Mississippi; Stone County,
                                         Mississippi; Walthall County, Mississippi;
                                         Bernalillo County, New Mexico; Catron
                                         County, New Mexico; Cibola County, New
                                         Mexico; City of Alamogordo, New Mexico;
                                         City of Espanola, New Mexico; City of
                                         Hobbs, New Mexico; City of Las Cruces, New
                                         Mexico; Curry County, New Mexico; Doña
                                         Ana County, New Mexico; Hidalgo County,
                                         New Mexico; Lea County, New Mexico;
                                         Lincoln County, New Mexico; McKinley
                                         County, New Mexico; Otero County, New
                                         Mexico; Sierra County, New Mexico; Socorro
                                         County, New Mexico; Taos County, New
                                         Mexico; and Valencia County, New Mexico




                                     9
 Case: 1:17-md-02804-DAP Doc #: 4539 Filed: 06/17/22 10 of 10. PageID #: 587356




                                   CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2022, a copy of the foregoing was filed electronically.

 Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

 Parties may access this filing through the Court’s system.



Date: June 17, 2022                                     /s/ Mark P. Pifko
                                                        Mark P. Pifko




                                                   10
